           CASE 0:21-cv-00999-JRT-JFD Doc. 4 Filed 04/15/21 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                               )
    SVEN SUNDGAARD,                            )                       CASE NO. 0:21-cv-00999
                                               )
                        Plaintiff,             )
                                               )
    v.                                         )     DEFENDANTS’ CORPORATE
                                               )      DISCLOSURE STATEMENT
    MULTIMEDIA HOLDINGS                        )
    CORPORATION, d/b/a KARE-TV and d/b/a       )
    KARE-11; TEGNA, Inc.,                      )
                                               )
                        Defendants.            )
                                               )

         Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Multimedia Holdings

Corporation d/b/a KARE-TV and d/b/a KARE-11 and TEGNA Inc.1 submit this Corporate

Disclosure Statement:

         Multimedia Holdings Corporation is a corporation organized under the laws of the

State of South Carolina. Multimedia Holdings Corporation is a licensee of KARE-TV, and

Multimedia Holdings Corporation does business as KARE-11. Multimedia Holdings

Corporation is owned by and a subsidiary of TEGNA Inc. TEGNA Inc. is a corporation

organized under the laws of the State of Delaware. TEGNA Inc. has no parent corporation

and BlackRock, Inc. owns 10% or more of TEGNA Inc.’s stock.




1
    TEGNA Inc. is incorrectly named in the caption as TEGNA, Inc.

US.132660040.01
           CASE 0:21-cv-00999-JRT-JFD Doc. 4 Filed 04/15/21 Page 2 of 2




DATED: April 15, 2021                 Respectfully submitted,

                                      Defendants MULTIMEDIA HOLDINGS
                                      CORPORATION, d/b/a KARE-TV and d/b/a
                                      KARE-11 and TEGNA Inc.

                                      By: /s/ Sean R. Somermeyer
                                         One of Its Attorneys

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US.132660040.01
